
76 So.3d 1128 (2012)
Timothy Byron HAMPTON, Appellant,
v.
STATE of Florida, Appellee.
No. 5D11-1410.
District Court of Appeal of Florida, Fifth District.
January 10, 2012.
*1129 James S. Purdy, Public Defender, and Ailene S. Rogers, Assistant Public Defender, Daytona Beach, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Flagg v. State, 74 So.3d 138 (Fla. 1st DCA 2011).
ORFINGER, C.J., MONACO and COHEN, JJ., concur.
